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                                                  Plaintiffs' Designations

             IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                    SAN ANTONIO DIVISION

JARROD STRINGER, et al.,  )
                          )
     Plaintiffs,          )
                          )
vs.                       )CIVIL NO. 5:16-cv-00257
                          )
ROLANDO PABLOS, IN HIS    )
OFFICIAL CAPACITY AS THE )
TEXAS SECRETARY OF STATE, )
AND STEVEN C. McCRAW, IN )
HIS OFFICIAL CAPACITY AS )
THE DIRECTOR OF THE TEXAS )
DEPARTMENT OF PUBLIC      )
SAFETY,                   )
                          )
     Defendants.          )


                    ORAL/VIDEOTAPED DEPOSITION OF

                             EITAN HERSH

                       Tuesday, May 23, 2017



             DEPOSITION OF EITAN HERSH, produced as a

witness at the instance of the Defendants, and duly

sworn, was taken in the above-styled and numbered cause

on Tuesday, May 23, 2017, from 9:00 a.m. to 1:49 p.m.,

before Debbie D. Cunningham, CSR, in and for the State

of Texas, reported via Machine Shorthand at of Office of

the Attorney General of Texas, 300 West 15th Street, 9th

Floor, Austin, Texas 78701, pursuant to the Federal

Rules of Civil Procedure.

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 1    their voter registration information when they change

 2    address or renew a license online; and there is a

 3    disagreement between the State of Texas and the

 4    Plaintiffs about whether Texas ought to do that, as

 5    other states do, around Federal law.

 6          Q.    And how did you become involved in this case?

 7          A.    Someone who knew me and my work on voter

 8    registration connected me with the Plaintiffs.

 9          Q.    When did you first learn about this case?

10          A.    I don't remember.       Months ago definitely.

11          Q.    Months ago.     Okay.

12                     And can you summarize the opinions you've

13    reached in this case?

14          A.    Sure.   My goal is to try to help solve a

15    mystery, which is:      Why does Texas do what it does in

16    this particular context?       And there could be a number of

17    reasons why Texas doesn't update or allow individuals to

18    update their voter registration data when they perform a

19    transaction online.

20                     And my opinion is that there are no

21    obvious substantial technical reasons why Texas does not

22    do that or financial situations why Texas does not do

23    that, but the -- what the decision boils down to, the

24    mystery is solved, because it's not a technical or a

25    financial barrier but an interpretation of the law.             In

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 1    some ways I think my goal here or what I accomplished is

 2    helped to set aside what is a plausible but not relevant

 3    consideration from the more relevant considerations.

 4          Q.    Do you know if the Defendants in this case

 5    have ever argued that there's a technological barrier to

 6    doing what the Plaintiffs asked us to do?

 7          A.    Yes.

 8          Q.    What's your basis for understanding that?

 9          A.    So my understanding in an early report from, I

10    believe, the Texas Election Director, there was a claim

11    that Texas didn't have the capacity to do this, that it

12    would cost a lot of money to do it; and, to me, that

13    sounded like, oh, there's a technical problem.            There's

14    a technical reason.

15          Q.    I understand that may be a financial reason,

16    but you inferred from that -- who's the Texas Election

17    Director?

18          A.    I believe Mr. Ingram.

19          Q.    Mr. Ingram.     And he works for DPS; is that

20    right?

21          A.    I believe he works for the Secretary of State.

22          Q.    I'm sorry.     The Secretary of State.

23                       And Mr. Ingram has testified or stated,

24    you're asserting, that there's financial reasons or

25    financial costs associated with this, correct?

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 1    looking for information, data, depositions that could

 2    help solve this puzzle of what the justification for

 3    Texas' unusual behavior here is; and so it was an

 4    over-time development, learning, to reach this

 5    conclusion.

 6          Q.    So you authored this report on April 15th;

 7    that's correct, right.

 8          A.    I think I filed it with the court, yeah, over

 9    the previous few weeks.

10          Q.    And it was finalized on April 15th.

11          A.    Right.

12          Q.    I'm just trying to get a sense of how long

13    before that you actually reached your conclusions.             Was

14    it in March, February, January?         Do you have an

15    estimate, or do you recall what month it was that you

16    reached the conclusions?

17          A.    No.   I would guess it was, you know, a

18    slow-and-steady process of research; and that research

19    in this case was mostly reviewing the depositions.             So

20    the picture became clearer over time.

21          Q.    So I think most of the depositions in this

22    case happened this year.       So would it be fair to say

23    sometime this year?

24          A.    Yes, that makes sense.

25          Q.    So you said earlier -- and correct me if I'm

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 1    wrong -- that one of your opinions in this case is that

 2    there are no -- you might have said "significant" --

 3    barrier, financial barriers, to implementing the system

 4    that Plaintiffs are asking the Court to enjoin through a

 5    permanent injunction.       Is that fair?

 6          A.    Yeah.     In fact, you know, I think a common-

 7    sense interpretation of what Texas is doing now versus

 8    what this would look like would lead anyone to conclude

 9    it would be a massive cost savings.

10          Q.    So what would this exactly look like?

11          A.    This alternative procedure?

12          Q.    Yes.

13          A.    To briefly summarize it, Texas NIC, through

14    its operation of Texas.gov, has the ability and in some

15    ways does already track information about a voter who

16    wants to update their registration information.            They

17    can share that information straightforwardly with DPS;

18    and, in fact, their representative, who provided a

19    deposition, said that is something that they could do.

20                       DPS could then transfer that information

21    to the Secretary of State's office, just as it transmits

22    information from in-person transactions or mail

23    transactions.       And, again, DPS has confirmed that if

24    they had discussions, if that was the conclusion that

25    they reached, they could easily do that; and then the

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 1    Secretary of State's Office would do what it does with

 2    the in-person transactions as well, providing them to

 3    Counties and updating individuals' voter registration

 4    records.    In the process of doing that, of course, it

 5    would transmit, just as it does now for mail and in-

 6    person transactions, the previously-recorded digital

 7    signature of the voter because everyone who is renewing

 8    or changing their address online has a digital signature

 9    stored at the DPS.

10          Q.     So your opinion is if this system was

11    implemented, Texas would -- I think you said it would

12    achieve financial savings?

13          A.    Sure, statewide.

14          Q.     What's your estimate of the amount of

15    financial savings Texas would achieve in the first five

16    years of this implementation?

17          A.    Again, this actually brings back our initial

18    conversation about why it would be important to get all

19    the information about exactly how people are using

20    online or not; but, you know, the analogy that I think

21    of is:     If I had a class that I was teaching at a

22    university with a hundred thousand students -- hopefully

23    I'll never have to face such a class -- and the students

24    were filling out some kind of Scantron tests, what would

25    be the cost savings of me, one by one, entering

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 1    information from that test versus running it through a

 2    Scantron machine.      And suppose I already had a Scantron

 3    machine, which in this parallel example, Texas already

 4    has a Scantron machine, right?

 5                     So you would have to estimate the costs

 6    of what does it cost for Texas or the Counties to key in

 7    individually voter registration applications and the

 8    errors associated with that, dealing with those, and

 9    having the paper routine that they do now for people who

10    transmit it online, do an online DPS transaction; and it

11    then goes through this external, non-simultaneous

12    process versus flow the information through the current

13    daily export that DPS already does.

14          Q.     So you don't have that kind of detailed data

15    to make an estimate over what the estimated financial

16    savings would be over a certain period of time; is that

17    correct?

18          A.     Right.   With a few pieces of information, I

19    think we could make that estimate.         I don't have it

20    right now.

21          Q.     At least with any degree of scientific

22    certainty, right?

23          A.     That's right.    I would want to know how many

24    people are doing this, how long it takes a Texas

25    elections clerk to key in information, how much they get

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 1    much I'd spend on each of those estimates; but I don't

 2    have to retrieve more information than common sense to

 3    know that it is cheaper for me to run those 100,000

 4    tests through a Scantron machine than for me to grade

 5    each one individually.

 6            Q.   We're not talking about a Scantron machine

 7    here, correct?

 8            A.   It's just an equivalent efficiency gain.           It

 9    just seems like an obvious efficiency gain is what I'm

10    trying to say.

11            Q.   Did anyone help you in coming to this

12    conclusion in your report, any of your colleagues at

13    Yale?

14            A.   No, I didn't talk to anyone about this.

15            Q.   Did you do any sort of calculations to come to

16    this conclusion?

17            A.   No.     Again, I kind of treat this as, like,

18    kind of a conventional wisdom, common-knowledge

19    expectation of what technology can do for efficiency.

20            Q.   Is there any particular source you relied on

21    in coming to this conclusion other than your common

22    sense and Mr. Ingram's deposition answers?

23            A.   I don't think so -- I will -- sorry.          Let me

24    amend that.        You know, I think that as someone deeply

25    knowledgeable about voter registration systems what is

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 1    really evident is that when you have people filling out

 2    voter registration applications by hand; then you have

 3    election officers keying in information one at a time,

 4    you generate errors, lots of errors.           There's tons of

 5    small typo kind of errors on voter registration

 6    applications that cause problems down the line.             They

 7    cause problems with people not being authenticated

 8    properly at the polls; and those problems are, in large

 9    part, the result of hand-keying work.           And so I think

10    one area of expertise that I have that brings to bear on

11    this question is:      How much of a problem is it when

12    election officials are doing a lot of stuff by hand and

13    how much better is it when they don't?           And I think we

14    see that here in this situation.

15          Q.    You testified earlier Texas is not the only

16    state that has some form of driver's license renewal/

17    change-of-address process online, correct?

18          A.    That's right.

19          Q.    There's 38 other states that have some form

20    of online driver's license transactions, either

21    currently -- currently implemented or are being

22    implemented?

23          A.    That wasn't referring to driver's license

24    transactions.      That was referring to online voter

25    registration.

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 1          Q.    So going to Paragraph 27, I want to talk about

 2    the portion -- I think it's in sentence three -- where

 3    you emphasize a previous-obtained digital signature; but

 4    am I correct when I say that that previously-obtained

 5    digital signature is not a physical signature given by

 6    the voter with the voter application?

 7          A.    It's given by the voter under previous

 8    interaction that they've had with DPS.

 9          Q.    Is it a physical signature?

10          A.    I think the way that you're describing

11    physical signature, it is.        It's a digitally-captured

12    physical signature.

13                     And just to reiterate, this is the

14    paragraph I made that revision about, the renewal versus

15    change of address.

16          Q.    Fair enough.

17                     So going to 29, in the first sentence you

18    reference a policy decision.         I think I've already asked

19    you about policy decisions.         What do you mean by a

20    policy decision is this context?

21          A.    In this context, I mean the policy -- hold on.

22    Hold, please.

23                     In this case, I mean the policy decision

24    to not accept -- to not automate this process between

25    online DPS transactions and voter registration updates.

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 1    And I reference it relation to other policy decisions,

 2    for example, the policy decision about how Texas deals

 3    with these mail change-of-address forms, you know, when

 4    asked why the State does this; why does the State take

 5    the previously-recorded digital signature in case of the

 6    mail change-of-address forms.         That was a policy

 7    decision.     That was a decision that was made in

 8    conjunction with lawyers about how they were going to do

 9    that particular thing.       And that's how Texas was

10    interpreting what to do in that situation and in this

11    other situation an online update Texas is interpreting

12    what their doing as something else; and, you know, as

13    I'm pointing out in this paragraph, different in this

14    context than in other similar context.

15          Q.    So this will go back to your opening paragraph

16    where you talk about policy decisions:           Who specifically

17    are you alleging is making that policy decision in

18    relation to the allegations in this case?

19          A.    I would say the Department of Public Safety.

20    In there depositions they say these are conversations

21    that happened in conjunction with the Secretary of

22    State, actually in conjunction with Texas NIC; but,

23    primarily, it's the decision, it seems to me, of DPS as

24    they've made other similar decisions about what to do in

25    this context.      For example, you know, when asked why

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 1    Motion to Dismiss.

 2          Q.    So let me see if I have this straight.           You

 3    are relying on Judge Garcia's order to reach an -- are

 4    you relying on that language in any of your opinion?

 5          A.    I wouldn't say I'm relying on it, no.           Let me

 6    just re-read what I wrote here.

 7                     Yes, I think that the quote from

 8    Judge Garcia is merely there to reinforce the view that

 9    I have come to independently about what the signature is

10    for and what it's not for.

11          Q.    Your last sentence reads, "Indeed, the Texas

12    Secretary of State does not make use of an additional

13    signature in the case of mail forms or in-county online

14    forms."

15                     Did I read that correctly?

16          A.    Correct.

17          Q.    And you don't provide a cite to this specific

18    sentence.     Can you tell me what the basis for this

19    contention is?

20          A.    Sure.    In the mail forms, I believe it was --

21    well, the question about these mail forms was asked in

22    multiple depositions; but I think it was in

23    Mr. Crawford's deposition where it was confirmed not

24    only that old signatures, previously-recorded signatures

25    are being transferred to the Secretary of State for

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 1    these mail forms.      Not only that, but the Secretary of

 2    State's Office would not really be able to tell the

 3    difference between a digitally-recorded previous

 4    signature and one that was new.

 5          Q.    And what is that contention based on?

 6          A.    Again, Mr. Crawford's deposition.

 7          Q.    Any other deposition or any other source?

 8          A.    I think that's where it was most clearly

 9    articulated and asked and answered, but I do recall that

10    this question about "what's going on with these mail

11    forms" has come up in multiple depositions.

12          Q.    Any reason why you didn't provide a cite for

13    that contention?

14          A.    I think only because I'd already provided a

15    cite to it earlier in the report.

16          Q.    To that specific contention?

17          A.    I believe so, yeah.

18          Q.    Okay.    Can you tell me where exactly it is?

19          A.    Sure.

20                     So I would point you to the Paragraph 27,

21    again, the end of page 12, "This process is described in

22    depositions by DPS's John Crawford and Sheri Gipson,

23    also acknowledged by Betsy Schonoff, the Voter

24    Registration Manager, and the Secretary of State."

25          Q.    I'm sorry.     What paragraph again?

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 1    STATE OF TEXAS)

 2                        REPORTER'S CERTIFICATION

 3                     I, DEBBIE D. CUNNINGHAM, CSR, hereby

 4    certify that the witness was duly sworn and that this

 5    transcript is a true record of the testimony given by

 6    the witness.

 7                     I further certify that I am neither

 8    counsel for, related to, nor employed by any of the

 9    parties or attorneys in the action in which this

10    proceeding was taken.       Further, I am not a relative or

11    employee of any attorney of record in this cause, nor am

12    I financially or otherwise interested in the outcome of

13    the action.

14                     Subscribed and sworn to by me this day,

15    June 7, 2017.

16

17

18

19                           __________________________________
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